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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,

                         Plaintiff,

-vs-                                                 Case No. 1:17-cr-10067-STA

HEATHER WALKER,

                  Defendant.
______________________________________________________________________________

  ORDER TO CONTINUE SENTENCING HEARING AND NOTICE OF RESETTING
______________________________________________________________________________

       This matter came to be heard before the Court upon a motion to continue the sentencing

hearing of Heather Walker and without opposition of the Government the motion is well taken

and is hereby granted.

       IT IS THEREFORE ORDERED, that the sentencing hearing of Heather Walker in this

cause is hereby continued until Monday, July 30, 2018 at 9:30 A.M.

       Entered this 18th day of June, 2018.


                                                     s/S. Thomas Anderson
                                                     CHIEF U.S. DISTRICT COURT JUDGE
